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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION
                                   www.flnb.uscourts.gov


In Re:                                                  Chapter 11

ADVANCED SAWMILL MACHINERY, INC.,                       Case No.: 21-30612-JCO

      Debtor.
_________________________________/


                           CREDITOR, CIT BANK, N.A.’S
              VERIFIED MOTION FOR RELIEF FROM AUTOMATIC STAY
              OR, IN THE ALTERNATIVE, FOR ADEQUATE PROTECTION


         Creditor, CIT BANK, N.A., ("CIT"), by and through its undersigned counsel, respectfully

moves this Court for relief from the automatic stay or, in the alternative, for adequate protection, and

in support of its Motion states as follows:

         1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1334(b) and

157(a) and 362(d) of Title 11, United States Code (hereinafter referred to as the "Code").

Furthermore, this is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(G).

         2.      That on September 20, 2021, Debtor, ADVANCED SAWMILL MACHINERY,

INC.,(the "Debtor") filed for relief under Chapter 11 of the United States Bankruptcy Code.

         3.      That on or about June 30, 2017, CIT entered into a Master EFA Agreement (“EFA”)

with the Debtor, a true and correct copy of which is attached hereto as Exhibit A.

         4,      That on or about June 30, 2017, pursuant to the EFA, CIT entered into an Equipment

Schedule (“Schedule 1") with the Debtor, whereby the Debtor agreed to make payments to CIT for

the following:
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       One (1) Daewoo Puma 15 S/N PM15015V
       One (1) used Asquith Butler Komo HPT CNC Machining Center, S/N HPT6093
       One (1) Aviator DSD Precision Cutting System

(collectively the “Machining and Cutting Equipment”) A true and correct copy of Schedule 1 is

attached hereto as Exhibit B.

       5.        CIT perfected its security interest in and to the Machining and Cutting Equiment as

evidenced by the UCC-1 Financing Statement attached hereto as Exhibit C.

       6.        Pursuant to the terms of EFA and Schedule 1, the Debtor was to pay CIT make 48

monthly payments in the amount of $3,039.33.

       7.        On or about April 14, 2020, the Debtor executed a Payment Restructuring Agreement

whereby four (4) monthly payments were deferred, and the new periodic payments due under

Schedule 1 were modified to $3,142.99. A true and correct copy of the Payment Restructuring

Agreement is attached hereto as Exhibit D.

       8.        That Schedule 1 is in default as CIT was unable to ACH the Debtor’s account due to

the bankruptcy proceeding. The total amount due and owing to CIT on Schedule 1 is $6,664.98, as

of the date of the filing of this bankruptcy proceeding.

       9.        That the estimated fair market value of the Machining and Cutting Equipment is

$2,500.00.

       10.       That on or about July 15, 2021, pursuant to the EFA, CIT entered into an Equipment

Schedule (“Schedule 2") with the Debtor, whereby the Debtor agreed to make payments to CIT for

the following:

       Three (3) Dell OptiPlex 5490 AIO
       One (1) Dell UltraSharp Webcam
       One (1) Dell Slim Soundbar - SB521a
       One (1) Dell OptiPlex 5090 Small Form Factor
       Four (4) Dell Precision 5820 Tower
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       Three (3) Dell Mobile Precision 5560
       One (1) Dell Latitude 3520
       One (1) Dell 24 Monitor - P2422H, 60.5cm (23.8")
       One (1) PowerEdge T330

(collectively the “Dell Equipment”). A true and correct copy of Schedule 2 is attached hereto as

Exhibit E.

       11.     That the Dell Equipment was delivered to the Debtor in accordance with the terms

of the EFA and Schedule 2.

       12.     CIT perfected its security interest in and to the Dell Equipment as evidenced by the

UCC-1 Financing Statement attached hereto as Exhibit F.

       13.     Pursuant to the terms of EFA and Schedule 2, the Debtor was to pay CIT make 36

monthly payments in the amount of $1,199.41.

       14.     That Schedule 2 is in default as CIT was unable to ACH the Debtor’s account due to

the bankruptcy proceeding. The total amount due and owing to CIT on Schedule 2 is $41,158.94,

as of the date of the filing of this bankruptcy proceeding.

       15.     That the estimated fair market value of the Dell Equipment is $41,158.94.

       16.     Upon information and belief, the Debtor is in actual and constructive possession of

the Machining and Cutting Equipment and the Dell Equipment, using it in its current business

operations, subjecting it to continued wear, tear and depreciation in value.

       17.     Section 362(d)(1) of the Bankruptcy Code provides that a court shall, upon motion,

grant relief from that automatic stay for cause, which includes the lack of adequate protection of an

interest in property, of the moving party.

       18.     Section 362(d)(2) of the Code provides that the Court shall grant relief from the

automatic stay when the debtor lacks equity in the bankruptcy estate property and the property is not

necessary to an effective reorganization.
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       19.     The interest of CIT in and to the Machining and Cutting Equipment and the Dell

Equipment is not adequately protected.

       20.     CIT is entitled to adequate protection, in the form of payment together with an order

requiring the Debtor to adequately insure and maintain the Machining and Cutting Equipment and

the Dell Equipment. Alternatively, if the Debtor cannot adequately protect CIT's interest in the

Machining and Cutting Equipment and the Dell Equipment, relief from stay should be granted so that

CIT can exercise its in rem rights in said equipment.

       WHEREFORE, CIT respectfully requests:

       A.      The Debtor be required to provide CIT adequate protection, by paying all payments

that have come due since the filing of the Debtor's Bankruptcy Petition and all future payments that

come due under the EFA and Schedules 1 and 2, costs and attorney fees in accordance with the terms

of the EFA, as well as, require the debtor to adequately insure, and maintain the Machining and

Cutting Equipment and the Dell Equipment; and, in the event that adequate cannot be provided,

       B.      That the Automatic Stay pursuant to U.S.C. Section 362 be modified to permit CIT

to enforce its in rem rights in accordance with applicable principles of non-bankruptcy law;

       C.      That the Debtor be required to cooperate and turnover the Machining and Cutting

Equipment and the Dell Equipment within ten (10) days of the Order lifting the automatic stay; and

       D.      Awarding CIT such other and further relief as this Court deems just and proper in the

premises.


                                         VERIFICATION

       I, Brian Knox CIT BANK, N.A., states:

       1.      I am employed by CIT BANK, N.A.,as Senior Legal Recovery Specialist and I am
authorized to execute this Verification on behalf thereof. I am also over the age of eighteen.
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       I HEREBY CERTIFY that on this _____
                                      7th day of _______________
                                                   October       , 2021, I electronically

filed the foregoing Verified Motion for Relief from Automatic Stay or, in the Alternative for

Adequate Protection, with the Clerk of the United States Bankruptcy Court for the Northern District

of Florida by using the CM/ECF system and I furnished a copy of said Motion to the parties listed

below in the manner indicated.



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                                  By:         Eric B. Zwiebel
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Via CM/ECF
Robert C. Bruner, Esq., rbruner@brunerwright.com
Byron Wright, III, Esq., twright@brunerwright.com
US Trustee - Jason H. Egan, Esq. - Office of the US Trustee, jason.h.egan@usdoj.gov
Kelli Ferguson Marable - kmarable@enova.com and bankruptcy@ondeck.com
Rule 1007-2 parties on the attached matrix designated to receive notice via CM/ECF

Via U.S. Mail
Advanced Sawmill Machinery, Inc.
481 Machinery Circle
Holt, Florida 32654

Rule 1007-2 parties in interest on the attached matrix not designated to receive notice via CM/ECF
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